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                         I.INITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                       INDICTMENT

                      Plaintiff,                18 u.s.C. $ e22(g)(s)
                                                18u.s.c. $e2a@)Q)
                V.                              l8 u.s.c. $ e24(dxr)
                                                28 U.S.C. $ 2a6l(c)
 SANTOS GOMEZ PEREZ,

                      Defendant.


        THE L]NITED STATES GRAND JURY CHARGES THAT:

                                        COUNT       1
                       (Possession of Firearms by an Illegal Alien)

        On or about March 14,2019, in the State and District of Minnesota, the defendant,

                               SAIITOS GOMEZ PEREZ,

knowing that he was an alien illegally and unlawfully in the United States, did knowingly

possess eleven firearms, in and affecting interstate and foreign commerce,   namely: (1)            a


Smith   &   Wesson, model M&P 9c,9 millimeter semi-automatic handgun, serial number

HUU4334; (2) a Smith & Wesson, model SW40VE, .40 caliber semi-automatic handgun,

serial number DUM3526; (3) a Smith & Wesson, model 657 , .41magnum caliber revolver,

serial number AUL4774; (4) a Taurus, model.PT 11I G2A,9 millimeter semi-automatic

handgun, serial number TLS54596; (5) a Taurus, model PT 738, .380 caliber semi-

automatic handgun, serial number 1D131257; (6) a Taurus, model "The Judge," .45LCl4l0

caliber revolver, serial number BM573618; (7)   a   Hi-Point, model 995,9 millimeter caliber

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rifle, serial number F05502; (8) a Stag Arms, model Stag-15, multi-caliber rifle, serial

number 5042259; (9) a Norinco, model Mak-90, 7.62 caliber rifle, serial number 618845;

(10)   a   Palmetto State Armory, model PA-15, multi-caliber rifle, serial number LWl55871;

and (11) a Tula Arsenal, 7 .62 caliber rifle, serial number 1i3877, all in violation of Title

18, United States Code, Sections 922(9)(5) and924(a)(2).

                                  FORFEITURE ALLEGATION

            If   convicted of Count   I of this Indictment. the defendant.

                                      SANTOS GOMEZ PEREZ.

shall forfeit to the United States any firearms. ammunition and accessories involved in or

used       in connection wiih    such violation including, but not limited       to: (l) a Smith &
Wesson, model M&P 9c, 9 millimeter semi-automatic handgun, serial number HUU4334;

(2) a Smith          & Wesson,   model SW4OVE, .40 caliber semi-automatic handgun, serial

number DUM3 526 ; (3) a Smith & Wesson, model 657 , .41magnum caliber revolver, serial

number AUL4774; (4) a Taurus, model PT 111                        G2A,9 millimeter   semi-automatic

handgun, serial number TLS54596; (5) a Taurus, model PT 738, .380 caliber semi-

automatic handgun, serial number 1 D I 3 1257 ; (6)         a   Taurus, model "The Judge," .45LCl4l0

caliber revolver, serial number BM573618; (7)           a   Hi-Point, model 995,9 millimeter caliber

rifle, serial number F05502; (8) a Stag Arms, model Stag-15, multi-caliber rifle, serial

number 5042259; (9) a Norinco, model Mak-90, 7.62 caliber rifle, serial number 618845;

(   10) a Palmetto State Armory, model PA- I 5, multi-caliber rifle, serial number LW       15   5   87 I ;


and (11) a Tula Arsenal, 7.62 caliber rifle, serial number I{8877; and all associated
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ammunition and accessories,           all   pursuant   to Title 18, United States Code,   Section

924(d)(I), and Title 28, United States Code, Section 2a6l@).

                                             A TRUE BILL



LTNITED STATE,S ATTORNEY                                 FOREPERSON
